              Case 4:17-cr-00078-BMM Document 98 Filed 09/26/18 Page 1 of 1
                            IN UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MONTANA                             FILED
 UNITED STATES OF AMERICA                    )                                         SEP 2 6 2018
                                             )       PETITION TO DISCLOSE
                                                                                     Clerk, u.s District C0"·'
                       VS.                   )       JUVENILE RECORDS                  District Of Montane
                                             )                                             Great FElli;:
 NOV A BIG LEGGINS                           )   DOCKET NO. CR 17-78-GF-BMM



 Wherea.~ the above-named defendant has been charged with committing the offense of Criminal Child
 Endangennent, in United States Distriet Court for the District of Montana, the Petitioner requests that
 the Court order Roosevelt and Yellowstone County Child Protective Services; Montana State
 Department of Health and Human Serviees; Shodair Children's Hospital in Helena; Youth Dynamics in
 Billings, all juvenile records pertaining to the defendant, including charging documents, presentence
 investigation reports, attorney representation, mental health assessments/diagnosis and treatment
 records, medication regiments, substance abuse assessments/diagnosis and treatment records, discharge
 summaries, disciplinary actions, educational records, custody dispositions, and risk assessments, for the
 purpose of preparing a Presentence Investigation Report for the Court.



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                                                 ORDER
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",}.'ljlj COURT HAVING CONSIDERED THE AFOREMENTIONED PETITION does hereby order this
~day of September, 2018, the release of requested records held by Roosevelt and              Yellowstone
 County Child Protective Services; Montana State Department of Health and Human Services; Shodajr
 Children's Hospital in Helena; Youth Dynamics in Billings, to the Petitioner or authorized agency of the
 United States Probation Office for the purpose of prep . g a Presentence Investigation Report for the
 Court.



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                                                     United States District Judge
